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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

 MUCHMORE’S CAFÉ, LLC,
                                Plaintiff,

                     v.
                                                       Civ. Action No.: 14-cv-05668 (RRM)
 THE CITY OF NEW YORK,

                                Defendant.




            NOTICE OF MOTION FOR LEAVE TO APPEAR AS AMICI CURIAE




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                     Amici curiae Ali Coleman, Luis Vargas, Megha Kalia, Natasha Blank and Tamara

 Burstein, by and through their undersigned counsel, hereby move this Court for leave to appear

 as amici curiae in the above-captioned case. In support of this Motion, amici curiae incorporate

 the accompanying Affirmation of Jerry S. Goldman, Esq. and Memorandum of Law.

                     WHEREFORE, amici curiae respectfully request that the Court grant their motion

 for leave to appear as amici curiae and to file the accompanying Memorandum of Law.

 Dated: June 9, 2015



                                                       /s/
                                                       Jerry S. Goldman, Esq. (JG-8845)
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